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1    MICHAEL JASON LEE (Bar No. 206110)
2
     michael@mjllaw.com
     LAW OFFICES OF MICHAEL JASON LEE, APLC
3    4660 La Jolla Village Drive, Suite 100
     San Diego, California 92122
4
     Telephone: (858) 550-9984
5
     DAVID D. MESA (Bar No. 257488)
6
     david.mesa@pierferd.com
7    PIERSON FERDINAND LLP
     2100 Geng Road, Suite 210
8    Palo Alto, CA 94303
9    Telephone: (415) 915-4415
     Facsimile: (415) 890-4845
10

11   Attorneys for Applicant
     DELORAZE LIMITED
12
                             UNITED STATES DISTRICT COURT
13
                         EASTERN DISTRICT OF CALIFORNIA
14
                                SACRAMENTO DIVISION
15
     In re Application of:                     ) Case No.
16                                             )
                                               )
17   DELORAZE LIMITED                          )
                                               ) CORPORATE DISCLOSURE
18                                             ) STATEMENT PURSUANT TO
                              Applicant
                                               ) RULE 7.1 OF THE FEDERAL
19                                             )
     For the Issuance of a Subpoena for the    ) RULES OF CIVIL PROCEDURE
20   Taking of a Deposition and the Production )
21   of Documents Under 28 U.S.C. § 1782 to )
                                               )
     Kotaro Shimogori for Use in Foreign       )
22   Proceedings                               )
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                    CORPORATE DISCLOSURE STATEMENT PURSUANT TO F.R.C.P. 7.1
        Case 2:24-mc-00159-DAD-CKD Document 1-2 Filed 04/11/24 Page 2 of 2


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           Pursuant to Federal Rule of Civil Procedure 7.1, Deloraze Limited, by and
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     through its counsel, hereby discloses that:
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           Deloraze Limited: (i) is privately owned, (ii) does not have a parent
4
     corporation, and (iii) no publicly held corporation owns 10% or more of its stock.
5

6
     DATED:       April 11, 2024          LAW OFFICES OF MICHAEL JASON
7                                         LEE, APLC
8
                                          By: /s/ Michael Jason Lee
9                                              Michael Jason Lee (SBN 206110)
10                                             Attorney for Applicant
                                               DELORAZE LIMITED
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                    CORPORATE DISCLOSURE STATEMENT PURSUANT TO F.R.C.P. 7.1
